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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND



 STATE OF MARYLAND; STATE OF
 DELAWARE; STATE OF CALIFORNIA; STATE
 OF COLORADO; STATE OF ARIZONA; STATE
 OF CONNECTICUT; DISTRICT OF COLUMBIA,
 STATE OF HAWAI‘I; STATE OF ILLINOIS;
 OFFICE OF THE GOVERNOR ex rel. Andy                  Civ. No. 25-cv-01363 (DLB)
 Beshear, in his official capacity as Governor of the
 COMMONWEALTH OF KENTUCKY; STATE OF
 MAINE; COMMONWEALTH OF
 MASSACHUSETTS; PEOPLE OF THE STATE OF
 MICHIGAN; STATE OF MINNESOTA; STATE OF
 NEVADA; STATE OF NEW JERSEY; STATE OF
 NEW MEXICO; STATE OF NEW YORK; STATE
 OF NORTH CAROLINA; STATE OF OREGON;
 JOSH SHAPIRO, in his official capacity as
 Governor of the COMMONWEALTH OF
 PENNSYLVANIA; STATE OF RHODE ISLAND;
 STATE OF VERMONT; STATE OF
 WASHINGTON; STATE OF WISCONSIN;

               Plaintiffs,

        v.

 CORPORATION FOR NATIONAL AND
 COMMUNITY SERVICE, operating as
 AmeriCorps; and JENNIFER BASTRESS
 TAHMASEBI, in her official capacity as Interim
 Head of the Corporation for National and
 Community Service;

               Defendants.


                   ORDER GRANTING CONSENT MOTION FOR
             EXPEDITED BRIEFING AND SCHEDULING A HEARING ON
              PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Upon consideration of Plaintiffs’ Consent Motion for Expedited Briefing and Scheduling

a Hearing on Plaintiffs’ Motion for Preliminary Injunction, the Court hereby GRANTS the

motion and ORDERS all parties to submit briefing on the following expedited schedule:


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           •   Defendants shall file any response to Plaintiffs’ Motion for Preliminary

               Injunction on or before Tuesday, May 13, 2025 at 5 p.m.; and

           •   Plaintiffs shall file any reply in support of their Motion for Preliminary

               Injunction on or before Friday, May 16, 2025 at 5 p.m.

       It is FURTHER ORDERED that a HEARING on Plaintiffs’ Motion for Preliminary

Injunction is SET for the 19th day of May, 2025 at 1 p.m. in the United States Courthouse,

6500 Cherrywood Lane, Greenbelt, MD 20770.




DATED this 7th day of May, 2025.
                                                     BY THE COURT:



                                                     Deborah L. Boardman
                                                     United States District Judge




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